                                     Case 16-42136-mxm7                          Doc 295Filed 07/25/22
                                                                                               FORM 1
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                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                              Page No:    1
                                                                                                       ASSET CASES

Case No.:                    16-42136-MXM                                                                                                                  Trustee Name:                              John Dee Spicer
Case Name:                   Celeritas Chemicals, Llc                                                                                                      Date Filed (f) or Converted (c):           06/22/2017 (c)
For the Period Ending:       7/25/2022                                                                                                                     §341(a) Meeting Date:                      07/26/2017
                                                                                                                                                           Claims Bar Date:                           11/15/2017

                                 1                                                 2                            3                                  4                        5                                           6

                        Asset Description                                     Petition/                 Estimated Net Value                     Property               Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                     Unscheduled                (Value Determined by                     Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                  Value                          Trustee,                    OA =§ 554(a) abandon.         the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

 Ref. #
1       Frost Bank Checking account 5 4 3 0                                            $1,491.95                          $1,491.95                                              $0.00                                              FA
Asset Notes:      DIP Account established post-petition at Frost Bank (Asset No. 9) and so pre-petition bank account fully administered
2      Credit on vendor account with The Warehouse                                 $1,086.00                              $1,086.00                                              $0.00                                              FA
       USA LLC
Asset Notes:     Administratively insignificant amount to undertake pursuit of refund.
3       Guar gum, Xanthum gum, chloride chemicals                                      Unknown                                  $0.00                                            $0.00                                              FA
Asset Notes:      This asset apparently was not on hand on date of conversion.
4       Domain Name: celeritaschemicals.com                                            Unknown                                  $0.00                                            $0.00                                              FA
Asset Notes:      The Trustee is not aware of a market demand for this asset.
5      Claim against Euler Hermes North America                             $1,250,000.00                             $1,250,000.00                                              $0.00                                  $1,000,000.00
       Insurance Company Nature of claim Claim under
       insurance contra Amount requested
       $1,250,000.00
Asset Notes:     Currently subject to CSA with range of recovery between $-0- and $1,000,000.
6       Claims for Alter Ego, Fraudulent Transfer against                              Unknown                        $1,000,000.00                                         $54,285.78                                       $45,714.22
        PrimeNA, Snap Holdings, Percy Pinto Nature of
        claim Litigation Claims
Asset Notes:     Purported fraudulent transfers or preferences paid to insiders (Percy Pinto and Nancy Mathias) total approximately $521,000.00 (estimate of 10% costs of collection). General Counsel hired
                 to pursue claim [see DOC #207].
                 Purported fraudulent transfers or preferences relating to PrimeNA and Snap Holdings are in an unknown amount (estimate of 40% costs of collection). Special Counsel hired to pursue claim
                 [see DOC #209].
                 CSA settles claim at $100,000.
7       Judgment against Al-Kel Alliance, Inc., Prime                             $341,935.16                           $341,935.16                                               $0.00                                     $200,000.00
       Pack, Inc. and Maxxum Technologies, LLC
Asset Notes:      Special Counsel employed under contingent fee arrangement to pursue recovery of this claim. [See DOC #209]
8       Judgment against Smith Oil Company Inc.                                  $2,191,392.71                        $1,221,180.76                                      $1,200,000.00                                              FA
Asset Notes:      The judgment against Smith Oil is for approximately $2,200,000.00 and the Debtor's schedules indicates security interests against the judgment in the approximate combined amounts of
                  $970,000.00.
                  The Debtor revised the asset value from $2,191,392.71 to $941,392.71 on amended schedules dated 09/26/16 [see DOC #56].
9       Debtor In Possession Bank Account with Frost              (u)                 $0.00                              $3,959.27                                             $3,959.27                                            FA
        Bank (#3088)
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Case No.:                     16-42136-MXM                                                                                                                   Trustee Name:                               John Dee Spicer
Case Name:                    Celeritas Chemicals, Llc                                                                                                       Date Filed (f) or Converted (c):            06/22/2017 (c)
For the Period Ending:        7/25/2022                                                                                                                      §341(a) Meeting Date:                       07/26/2017
                                                                                                                                                             Claims Bar Date:                            11/15/2017

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                         Asset Description                                     Petition/                 Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
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                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

Asset Notes:       DIP funds turned over after conversion to chapter 7; account closed.
 Ref. #
9       VOID                                                                              $0.00                                  $0.00                                             $0.00                                              FA
Asset Notes:       DIP funds turned over after conversion to chapter 7; account closed.
9       VOID                                                                              $0.00                                  $0.00                                             $0.00                                              FA
Asset Notes:       DIP funds turned over after conversion to chapter 7; account closed.
10      2015 Net Operating Loss                                    (u)                Unknown                                    $0.00                                             $0.00                                              FA
Asset Notes:       Listed on amended schedules dated 09/26/16 [see DOC #56]
11      VOID                                                                              $0.00                                  $0.00                                             $0.00                                              FA
Asset Notes:       Reimbursement of Bond Premium
12      Turnover of Pre-Conversion Funds                           (u)                    $0.00                           $14,518.26                                          $14,518.26                                              FA
Asset Notes:       Post petition, pre conversion unused retainer turned over by Special Conflicts Counsel
13      Bond Premium Refund                                        (u)                    $0.00                            $1,872.00                                           $1,872.00                                              FA
14     Claim for preference payment against Percy                  (u)                    $0.00                           $75,000.00                                          $40,714.22                                       $34,285.78
       Pinto and Nancy Mathias
Asset Notes:     CSA settles claim at $75,000.


TOTALS (Excluding unknown value)                                                                                                                                                                       Gross Value of Remaining Assets
                                                                                $3,785,905.82                         $3,911,043.40                                        $1,315,349.53                                $1,280,000.00




     Major Activities affecting case closing:
      07/25/2022      The Pinto Group continues to make payments on its note payable to the Estate. To date, the payments are current. A total of $95,000.00 has been paid through July, 2022, with another
                      $80,000.00 to be paid by April, 2023. The Trustee anticipates making an interim distribution of funds to parties in interest during 2022.
      12/31/2021      The Trustee made an interim distribution in the fourth quarter of 2021. The interim distribution paid chapter 11 administrative claims in full as well as a small dividend to general
                      unsecured creditors. The "Pinto Group" is current in making payments to the bankruptcy estate under the settlement agreement.
      09/30/2021      The "Pinto Group" is current in making payments to the bankruptcy estate under the settlement agreement. The Trustee will file a motion to make an interim distribution in the fourth
                      quarter of 2021. The interim distribution will pay chapter 11 administrative claims in full and should pay a small dividend to general unsecured creditors. There has been no further
                      activity in the state court suit with the insurance company.
      07/31/2021      The "Pinto Group" has commenced making payments to the bankruptcy estate under the settlement agreement. There has been no further activity in the state court suit with the
                      insurance company.
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Case No.:                   16-42136-MXM                                                                                                                     Trustee Name:                                John Dee Spicer
Case Name:                  Celeritas Chemicals, Llc                                                                                                         Date Filed (f) or Converted (c):             06/22/2017 (c)
For the Period Ending:      7/25/2022                                                                                                                        §341(a) Meeting Date:                        07/26/2017
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                       Asset Description                                      Petition/                 Estimated Net Value                     Property                  Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                      Unscheduled                (Value Determined by                     Abandoned                 Received by              Gross Value of Remaining Assets
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     12/31/2020     The parties to the adversary proceeding, as well as the potential chapter 5 causes of action against insiders, participated in a mediation. A settlement occurred, subject to bankruptcy
                    court approval, resolving the adversary proceeding and potential chapter 5 causes of action. The settlement will result in a payment of $175,000.00 to the bankruptcy estate, with
                    $10,000.00 of such recovery allocated to Manidhari Gums & Chemicals. Manidhari will be allowed a general unsecured claim of $1,500,000.00. Percy Pinto, Nancy Mathias, PrimeNA
                    Technologies, Inc. and Snap Holdings, LLC will not have an allowed claim in the case.
     06/30/2020     Special counsel is representing the trustee in a couple of matters and general counsel is representing the trustee in preference litigation. Tolling agreements with the defendants in the
                    preference litigation has been extended through December 31, 2020. The preference litigation defendants purportedly are preparing a settlement offer.
     03/31/2020     Special counsel is representing the trustee in a couple of matters and general counsel is representing the trustee in preference litigation. Tolling agreements with the defendants in the
                    preference litigation has been extended through June 30, 2020.
     12/31/2019     The appellate court has not ruled on the appeal determining and quantifying the amount of the settlement to the bankruptcy estate. Tolling agreements have been signed by the two
                    potential chapter 5 preference defendants extending the deadline to file adversary proceedings to June 30, 2020.
     09/30/2019     The appellate court has not ruled on the appeal determining and quantifying the amount of the settlement to the bankruptcy estate.
     07/31/2019     The litigation with Euler Hermes has been settled with waterfall payment streams tied to four potential outcomes of two rulings on appeal [DOC ##247 and 253]. The deadline to file
                    chapter 5 causes of actions against certain insiders has been extended to December 31, 2019 under tolling agreements. The causes of action against Prime NA and Snap Holdings has been
                    brought in an adversary proceeding now pending.
     12/31/2018     See note from 12/07/2018
     12/07/2018     The trial relating to the claim against the insurance company has been re-set for the first quarter of 2019.
     06/21/2018     The litigation against Euler Hermes Insurance Company relating to the Smith Oil transaction is set for trial docket on August 13, 2018.
     12/31/2017     The estate has settled with the judgment debtor for $1,200,000.00. The estate continues to pursue payment from the bankrupt debtor's insurance company relating to the claim against
                    the judgment debtor. The estate is pursuing chapter 5 causes of action.



Initial Projected Date Of Final Report (TFR):          09/30/2019                            Current Projected Date Of Final Report (TFR):              06/30/2023                 /s/ JOHN DEE SPICER
                                                                                                                                                                                   JOHN DEE SPICER
